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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JILLIAN SCHROTBERGER                               :
                                                    :
                        Plaintiff,                  :
                                                    :   Civil Action No. 2:21-CV-00364-JMY
               v.                                   :
                                                    :
 JOHN DOE, as the ADMINISTRATOR of the              :
 ESTATE OF ANDREAS SCHNEIDER-                       :
 NEUREITHER; ET AL.                                 :
                                                    :
                        Defendants.                 :


    STIPULATION OF VOLUNTARY DISMISSAL OF JOHN DOE, AS THE
 ADMINISTRATOR OF THE ESTATE OF ANDREAS SCHNEIDER-NEUREITHER

       It is hereby stipulated and agreed by and between the undersigned that this action is

hereby voluntarily dismissed as to John Doe, the Administrator of the Estate of Andreas

Schneider-Neureither.
                                                    KLEINBARD LLC


                                                    /s/ Lorena E. Ahumada
                                                    Matthew H. Haverstick
                                                    Lorena E. Ahumada
                                                    Eric J. Schreiner
                                                    Samantha G. Zimmer
                                                    Three Logan Square, 5th Floor
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                                                    Philadelphia, PA 19103
                                                    (215) 568-2000

                                                    Counsel for plaintiff, Jillian Schrotberger

Dated: November 3, 2022
        Case 2:21-cv-00364-JMY Document 70 Filed 11/03/22 Page 2 of 3




                                         KAUFMAN DOLOWICH & VOLUCK,
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                                         /s/ Katharine W. Fogarty
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                                         Counsel for defendant, SNP
                                         Transformations
Dated: November 3, 2022
         Case 2:21-cv-00364-JMY Document 70 Filed 11/03/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that the foregoing Notice of Voluntary Dismissal was served on this date via this

Court’s ECF system on the following:

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                      Counsel for Defendant, SNP Transformations, Inc.


                                                    KLEINBARD LLC


                                                    /s/ Lorena E. Ahumada
                                                    Matthew H. Haverstick
                                                    Lorena E. Ahumada
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                                                    Counsel for plaintiff, Jillian Schrotberger

Dated: November 3, 2022
